Case 1:17-cr-00075-RBJ Document 39 Filed 03/09/18 USDC Colorado Page 1 of 3




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

CASE NO. 17-cr-075-RBJ

UNITED STATES OF AMERICA,

              Plaintiff,

v.

ADAM NAUVEED HAYAT,

           Defendant.
______________________________________________________________________

      UNOPPOSED MOTION TO CONTINUE CHANGE OF PLEA HEARING
______________________________________________________________________

       COMES NOW the Defendant, Adam Nauveed Hayat (“Mr. Hayat”), by and through

undersigned counsel (“counsel”), Assistant Federal Public Defender, Matthew C. Golla,

and respectfully requests this Honorable Court to continue the change of plea hearing

currently set for Thursday, March 15, 2018, at 8:30 a.m. in the above-captioned case. In

support of this motion, undersigned counsel would show as follows:

       1.     A change of plea hearing is currently scheduled for Thursday, March 15,

2018, at 8:30 a.m..

       2.     Undersigned counsel needs additional time to review the plea documents

with Mr. Hayat and make any necessary revisions.

       3.     Counsel will be unable to accomplish this prior to the change of plea

currently set for next week.

       4.     Counsel contacted Assistant U.S. Attorney Julia Martinez and she does not

oppose this motion.
Case 1:17-cr-00075-RBJ Document 39 Filed 03/09/18 USDC Colorado Page 2 of 3




       WHEREFORE, counsel respectfully requests that the change of plea hearing

currently set for Thursday, March 15, 2018, at 8:30 a.m. be continued for a period of three

weeks.   Counsel also requests permission for the parties to contact chambers to

reschedule the change of plea date for a time and date suitable for all parties.



                                          Respectfully submitted,

                                          VIRGINIA L. GRADY
                                          Federal Public Defender, Interim




                                          s/ Matthew C. Golla
                                          Matthew C. Golla
                                          Assistant Federal Public Defender
                                          633 17th Street, Suite 1000
                                          Denver, CO 80202
                                          Telephone: (303) 294-7002
                                          FAX: (303) 294-1192
                                          Matt_golla@fd.org
                                          Attorney for Defendant
Case 1:17-cr-00075-RBJ Document 39 Filed 03/09/18 USDC Colorado Page 3 of 3




                             CERTIFICATE OF SERVICE

      I hereby certify that on March 12, 2018, I electronically filed the foregoing

  UNOPPOSED MOTION TO CONTINUE CHANGE OF PLEA HEARING HEARING

with the Clerk of Court using the CM/ECF system which will send notification of such
filing to the following e-mail addresses:

      Julia Martinez, Assistant U.S. Attorney
      Email: julia.martinez@usdoj.gov

and I hereby certify that I have mailed or served the document or paper to the following
non CM/ECF participants in the manner (mail, hand-delivery, etc.) indicated by the non-
participant’s name:

      Via U.S. Postal Service, regular mail
      Adam Nauveed Hayat
      Reg. No. 11450-091
      GEO Aurora Detention Center
      3130 N. Oakland Street
      Aurora, CO 80010


                                         s/ Matthew C. Golla
                                         MATTHEW C. GOLLA
                                         Assistant Federal Public Defender
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                                         Denver, Colorado 80202
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